        Case 1:17-cv-00431-AT Document 372 Filed 08/28/19 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, LAFACE
RECORDS LLC, SONY MUSIC
ENTERTAINMENT, UMG
RECORDINGS, INC., WARNER                            Civil Action No.
BROS. RECORDS INC., ARISTA                          1:17-CV-00431-AT
MUSIC, ARISTA RECORDS LLC,
BAD BOY RECORDS LLC,
CAPITOL RECORDS, LLC,
ELEKTRA ENTERTAINMENT
GROUP INC., ROC-A-FELLA
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT US LATIN LLC,
and ZOMBA RECORDING LLC,

       Plaintiffs,

       v.

SPINRILLA, LLC and JEFFERY
DYLAN COPELAND,

       Defendants.


            JOINT STATUS REPORT REGARDING MEDIATION
      The parties submit this joint status report pursuant to the Court’s order dated

July 12, 2019 (Dkt. 369) to update the Court on the status of the parties’ settlement

negotiations. The parties participated in a mediation on August 27, 2019, but were
        Case 1:17-cv-00431-AT Document 372 Filed 08/28/19 Page 2 of 3




unable to reach a settlement. Accordingly, the parties request that the Court lift the

stay currently in place and re-open the case.



Respectfully submitted this 28th day of August, 2019.


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                                          2
        Case 1:17-cv-00431-AT Document 372 Filed 08/28/19 Page 3 of 3




         CERTIFICATE OF COUNSEL REGARDING FONT SIZE
      I, Previn Warren, an attorney, hereby certify that the foregoing has been

prepared with a font size and point selection (Times New Roman, 14 pt.) which is

approved by the Court pursuant to Local Rules 5.1(C) and 7.1(D).

                                       /s/ Previn Warren


                         CERTIFICATE OF SERVICE
      I, Previn Warren, an attorney, hereby certify that on this 28th day of August,

2019, the parties’ Joint Status Report Regarding Mediation was electronically filed

with the Clerk of Court using the CM/ECF system, which will automatically send

electronic notification and a service copy of this filing to all counsel of record who

have appeared in this matter.

                                       /s/ Previn Warren




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